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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                    WESTERN DIVISION
11     TONEY ALFONSO JOHNSON,                  )   Case No. 2:19-cv-01285-ODW (JDE)
                                               )
12                       Plaintiff,            )
                                               )   ORDER ACCEPTING FINDINGS
13                        v.                   )
                                               )   AND RECOMMENDATION OF
14     JACK FEIST, et al.,                     )   UNITED STATES MAGISTRATE
                                               )   JUDGE
                                               )
15                       Defendants.           )
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             Pursuant to 28 U.S.C. § 636, the Court has reviewed the records on file,
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       including the operative Third Amended Complaint (Dkt. 45, “TAC”) filed by
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       Plaintiff Toney Alfonso Johnson (“Plaintiff”), the Motion to Dismiss the TAC
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       (Dkt. 46, “Motion”) filed by Defendants J. Clason and Jack Feist (collectively,
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       “Moving Defendants”), Plaintiff’s Opposition to the Motion (Dkt. 48), Moving
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       Defendants’ Reply in support of the Motion (Dkt. 51), and the Report and
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       Recommendation of the assigned United States Magistrate Judge (Dkt. 53).
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       No party has filed any timely written objections to the report. The Report and
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       Recommendation is therefore approved and accepted.
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             IT IS HEREBY ORDERED that:
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             1.    The Motion (Dkt. 46) is GRANTED; the claims asserted in the
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                   TAC against Defendants J. Clason and Jack Feist are dismissed
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 1                with prejudice, with final judgment to reflect such dismissal;
 2          2.    The TAC’s purported Fourteenth Amendment claims are stricken
 3                as having been filed in violation of the Court’s prior Order (Dkt.
 4                44);
 5          3.    Defendant Grieb is ordered to answer the only surviving claim in
 6                TAC, a First Amendment retaliation claim against him in his
 7                individual capacity only, within fourteen (14) days of the date of
 8                this Order.
 9          IT IS SO ORDERED.
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       Dated: October 16, 2020
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13                                               ______________________________
                                                 OTIS D. WRIGHT, II
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                                                 United States District Judge
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